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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

SAMSUNG ELECTRONICS                           §
AMERICA, INC.,                                §
               Plaintiff,                     §                   CIVIL ACTION NO.
                                              §
                    v.                        §                     3:15-CV-04108-D
                                              §
YANG KUN “MICHAEL” CHUNG,                     §
THOMAS PORCARELLO, YOON-                      §
CHUL “ALEX” JANG, JIN-YOUNG                   §
SONG, ALL PRO DISTRIBUTING,                   §
INC.                                          §
             Defendants.

                       DEFENDANT JIN-YOUNG SONG’S
                    CERTIFICATE OF INTERESTED PERSONS

       Defendant Jin-Young Song files this Certificate of Interested Persons pursuant to

Pursuant to FED. R. CIV. P. 7.1 and LR 7.4, LR 3.1(c), and LR 3.2(e), reflecting persons

financially interested in the outcome of this case:

       1.     Samsung Electronics America, Inc.—Plaintiff and possibly its counsel,

              Jeffrey J. Ansley, Jeffrey S. Lowenstein, Benjamin L. Riemer and Bell

              Nunnally & Martin, LLP,

       2.     Yang Kun “Michael” Chung—Defendant,

       3.     Thomas Porcarello—Defendant,

       4.     Yoon-Chul “Alex” Jang—Defendant,

       5.     Jin-Young Song—Defendant, and

       6.     All Pro Distributing, Inc.—Defendant.




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                                         Respectfully submitted,


                                         s/
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                                         ATTORNEY FOR JIN-YOUNG SONG


                            CERTIFICATE OF SERVICE

       I hereby certify that on January 26, 2016, the foregoing document is being filed
with the clerk of court of the U.S. District Court, Northern District of Texas, using the
electronic case filing system of the court, which electronically will send a “Notice of
Electronic Filing”, with a link to an electronic copy of this document, to the attorneys of
record who have consented in writing with this court to accept such as service of this
document by electronic means.




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